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Mark J. Langer                                                     E. Joshua Rosenkranz
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U.S. Court of Appeals for the D.C. Circuit                         D +1 212 506 5380
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E. Barrett Prettyman United States Courthouse
333 Constitution Avenue N.W.
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             Re:    Healthy Gulf, et al. v. FERC, No. 23-1226
                    Rule 28(j) Supplemental Authority
                    (Oral Argument Held September 10, 2024)

Dear Mr. Langer:

      Pursuant to Federal Rule of Appellate Procedure 28(j), Intervenors Driftwood
LNG LLC et al. submit Marin Audubon Society v. FAA, No. 23-1067 (Nov. 12, 2024),
as supplemental authority.

       Marin Audubon held that Council on Environmental Quality regulations,
“which purport to govern how all federal agencies must comply with the National
Environmental Policy Act, are ultra vires” and unenforceable. Slip Op. 8. And it
explained that FERC is a creature “of statute and as such literally has no power to
act except to the extent Congress”—not the CEQ—“authorized.” Slip Op. 14-15
(citation omitted). Thus, under Marin Audubon, CEQ regulations cannot provide a
basis for overturning FERC’s approval of the project or for remanding the case
based on an argument that FERC purportedly did not follow a requirement that has
been invalidated as ultra vires.

       Marin Audubon disposes of Petitioners’ segmentation/“connected action”
argument here. Petitioners argued that FERC improperly segmented review of
Line 200/300 from review of the Driftwood Terminal and Mainline. OB 39-44. But,
as admitted by Petitioners’ counsel at oral argument, the segmentation rule they
are invoking is premised on the requirements of a CEQ regulation, which provide
that an agency applying NEPA “shall evaluate, in a single review, proposals or
parts of proposals that are related closely enough to be, in effect, a single course of
action.” 40 C.F.R. § 1501.3; see Delaware Riverkeeper Network v. FERC, 753 F.3d
1304, 1314 (D.C. Cir. 2014); Oral Argument 10:24-10:30 (“It is CEQ regulations that
require that you analyze connected actions together.”). Marin Audubon’s holding
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that the CEQ regulations are ultra vires and without effect thus eliminates the
anti-segmentation rule from its root.

      As explained in the appellate briefs and at oral argument, Petitioners’
segmentation argument is meritless on its own terms and unexhausted. See
Intervenor Br. 39-43; FERC Br. 42-52. Given the holding of Marin Audubon, it is
also meritless at a more fundamental level. Under Marin Audubon, a claimed error
based on a purported failure to sufficiently follow the CEQ regulations, such as the
segmentation argument here, simply cannot provide a basis for challenging FERC’s
approval.

                                       Respectfully submitted,

                                       /s/ E. Joshua Rosenkranz
                                       E. Joshua Rosenkranz
                                       Counsel for Intervenors Driftwood LNG LLC and
                                       Driftwood Pipeline LLC

cc: Counsel of Record (via ECF)
